         Case 1-23-41205-ess          Doc 29       Filed 08/03/23     Entered 08/03/23 15:37:44




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 13
                                                                     Case No. 23-41205-ess
MOHAMMED M ISLAM,
dba Salzburg Inc
dba 737 Hancock St Corp
dba Multy Ave Inc

                           Debtor.
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                                       ORDER DISMISSING CASE

          WHEREAS, on April 6, 2023, Mohammed M Islam (the “Debtor”) filed a petition for

relief under Chapter 13 of the Bankruptcy Code; and

          WHEREAS, the Debtor has not filed Schedule A/B (Property) (Official Form 106A/B),

Schedule D (Creditors Who Have Claims Secured By Property) (Official Form 106D), Schedule

E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F), Schedule I (Your Income)

(Official Form 106I), Schedule J (Your Expenses) (Official Form 106J), Statement of Financial

Affairs for Individuals Filing for Bankruptcy (Official Form 107), Chapter 13 Statement of Your

Current Monthly Income and Calculation of Commitment Period (Official Form 122C-1), and

Copies of Pay Statements received within 60 days of filing from any employer or a statement

indicating this requirement is not applicable (the “Missing Schedules and Statements”); and

          WHEREAS, pursuant to Bankruptcy Code Section 521(a)(1)(B) and Bankruptcy Rule

1007(c), the Debtor is required to file the Missing Schedules and Statements within 14 days of

the petition date; and
      Case 1-23-41205-ess        Doc 29     Filed 08/03/23        Entered 08/03/23 15:37:44




       WHEREAS, on May 8, 2023, the Clerk of the Court served a Final Notice of Section 521

Deficiencies on the Debtor, the Chapter 13 Trustee, and the Office of the United States Trustee;

and

       WHEREAS, on May 22, 2023, the Clerk of the Court entered a request for judicial

determination for the deficiencies in the Debtor’s filings; and

       WHEREAS, on May 25, 2023, the Court entered an order scheduling a hearing on the

Order to Show Cause why this case should not be dismissed for failure to file the Missing

Schedules and Statements; and

       WHEREAS, from time to time, and on July 31, 2023, the Court held hearings on the

Order to Show Cause why this case should not be dismissed for failure to file the Missing

Schedules and Statements, at which the Debtor did not appear; and

       WHEREAS, as of the date of this Order, the Debtor has not filed the Missing Schedules

and Statements.

       NOW, THEREFORE, it is hereby

       ORDERED, that, based on the entire record, including the record of the July 31, 2023

hearing, the Debtor’s case is dismissed for failure to comply with Bankruptcy Code Section

521(i) and Bankruptcy Rule 1007(c), effective May 22, 2023, which is the 46th day after the

Petition Date.




 Dated: Brooklyn, New York                                           ____________________________
        August 3, 2023                                                      Elizabeth S. Stong
                                                                      United States Bankruptcy Judge
                                                 2
     Case 1-23-41205-ess          Doc 29   Filed 08/03/23   Entered 08/03/23 15:37:44




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